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Paris, October 10,2018

Bonjour Judge Crotty,
»

My boyfriend, Casey Michael Antone, who I’ve always known as Michael is going to be sentenced by
you on October 25th. | wish you would have met Michael under other circumstances so you could
see what a great person he is. The things he is charged with are not so great and i know that.

lam a french citizen, born and raised in France and | met him in 2003 when | started university in
Toulouse. He is the one who taught me how to speak english. He also helped me get settled in
university and ! want to tell you a story about that. The first time he came to my dorm he noticed
that | did not have a fridge nor a microwave. When he came back the next day he had both of those
things delivered. He does not ask for anything nor does he wants anything in return for the things
that he does,

| am in the process of moving to Albuquerque so | will be close to him upon his release so we can be
together.

| really miss him and love him very much and | hate to see him in this situation.
| promise you that | will make sure he never gets involved in anything like this again.

Your Honor, | hope that you please give Michael the chance to begin his life again with the people
who love and support him around him.

Thank you very much Your Honor for reading this letter.

Au revoir,

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